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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MONTANA                              Filt:D
                                 HELENA DIVISION
                                                                                DEC 0 : 2016
                                                                             Clerk, U.S. District Court
                                                                                District Of Montana
UNITED STATES OF AMERICA,                                                              Helena


                       Plaintiff,                               CR 16-17-H-CCL

vs.
                                                                      ORDER
TILLIAN JAY GONZALEZ,
BARBARAJEANSATROM,
REBECCA JEAN FRANKFORTER,

                       Defendants.

          Co-defendant Rebecca Jean Frankforter was previously arraigned and the

case set for jury trial on January 3, 2017. The court has been notified that Tillian

Jay Gonzalez was arraigned on December 6, 2016. Accordingly,

          IT IS HEREBY ORDERED the trial set for January 3, 2017 is Vacated and

Reset for January 23, 2017, at 9:30 a.m. in Courtroom II, United States

Courthouse, 901 Front Street, Helena, Montana before the undersigned sitting with

a Jury.

          The court finds that the interests of justice outweigh the interests of

defendants and the public in a speedy trial. All delay occasioned by the

continuance of the trial date will be excluded from defendants' speedy trial
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calculations pursuant to 18 U.S.C. § 316l(h)(6), (h)(7)(A). Delay occasioned by

the filing, briefing and deciding of any pretrial motions will be excluded pursuant

to 18 U.S.C. § 3161 (h)(l)(D) & (H).

        As it pertains to defendant Gonzalez, it is essential that the Government

timely comply with its duty to disclose information pursuant to Rule 16(A)(l) of

the Federal Rules of Criminal Procedure. Timely disclosure aids the parties and

the court in preparing for trial and facilitates the plea negotiation process.

Accordingly, the Government shall provide the aforementioned information and

disclose all exculpatory information within its custody or control by December 13,

2016.

        All pretrial motions with supporting briefs shall be filed by December 20,

2016. Responsive briefs shall be due no later than January 3, 2017, and reply

briefs, if any, or written notice to the court that none will be filed shall be filed by

January l 0, 2017. No extension will be granted on these deadlines except for

good cause shown. Requests for extension shall be filed no later than five days

prior to the filing deadlines.

        As it pertains to defendants Frankforter and Gonzalez, any plea agreement

shall be received in the Clerk's Office at Helena by January 9, 2017. Motions for

enlargement of time in which to file a plea agreement shall be received in Helena


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no later than January 9, 2017. In the absence of a motion to extend the plea

agreement deadline and except for good cause shown, no plea agreement will be

considered by the court thereafter.

      Any party seeking a continuance of the trial date shall file a motion to

continue in the Helena Clerk's Office on or before January 9, 2017.

      In the absence of a signed Plea Agreement or a motion to continue the trial

date by January 9, 2017, the Clerk will order a jury on January 10, 2017. Late

filing of motions to continue or plea agreements may result in assessment of costs

or imposition of other sanctions against parties and/or counsel.

      Proposed voir dire questions and proposed jury instructions shall be on file

with the Clerk of Court in Helena by January 13, 201 7.

      To aid and assist the court in preparing for trial and in trying the case,

      IT IS FURTHER ORDERED that the Government shall submit to the court

on or before January 13, 2017, a trial brief and a trial notebook containing:

      (a) a short summary of the nature and substance of the testimony of the

witness;

      (b) a list of all the exhibits to be used with that particular witness;

      (c) a list containing a description of each exhibit to be used with each

witness;


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      (d) a photocopy of each exhibit (when possible) to be used with each

witness.

The trial brief shall include legal authority as to the Government's position on all

legal issues and evidentiary rulings and any anticipated objections thereto.

      Counsel for defendant may, but is not required to, submit to the court a

similar trial brief from defendant's perspective.

      To enable the court to operate in the most efficient manner possible, it is

essential that this schedule be strictly adhered to by the parties.

              DATED this      7th     day of December, 2016.




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